Case: 2:20-cv-00040-ALM-EPD Doc #: 39 Filed: 10/28/21 Page: 1 of 2 PAGEID #: 312




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                  Filed: October 28, 2021




Mr. Richard W. Nagel
Office of the Clerk
85 Marconi Boulevard
Suite 121
Columbus, OH 43215

                     Re: Case No. 20-3885, James Matthews, et al v. Centrus Energy Corp., et al
                         Originating Case No. : 2:20-cv-00040

Dear Mr. Nagel,

  Enclosed is a copy of the mandate filed in this case.

                                                  Sincerely yours,

                                                  s/Divya Kumar
                                                  For Virginia Padgett, Case Manager

cc: Ms. Jessica K. Baverman
    Mr. Jacob D. Mahle
    Mr. Richard Donovan Schuster
    Ms. Anna Brunicardi Villarreal

Enclosure
Case: 2:20-cv-00040-ALM-EPD Doc #: 39 Filed: 10/28/21 Page: 2 of 2 PAGEID #: 313




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 20-3885
                                           ________________

                                                                      Filed: October 28, 2021

JAMES MATTHEWS, Individually and on behalf of all others similarly situated; JENNIFER
BROWNFIELD CLARK, Individually and on behalf of all others similarly situated; JOANNE
ROSS, Parent and natural guardian of Estate of A.R., a deceased minor, and individually and on
behalf of all others similarly situated

                Plaintiffs - Appellants

v.

CENTRUS ENERGY CORP.; UNITED STATES ENRICHMENT CORPORATION;
URANIUM DISPOSITION SERVICES, LLC; BWXT CONVERSION SERVICES, LLC; MID-
AMERICA CONVERSION SERVICES; BECHTEL JACOBS COMPANY, LLC;
LATA/PARALLAX PORTSMOUTH, LLC; FLUOR-BWXT PORTSMOUTH, LLC

                Defendants - Appellees



                                            MANDATE

     Pursuant to the court's disposition that was filed 10/06/2021 the mandate for this case hereby

issues today.



COSTS: None
